Case No. 1:24-cv-00490-RMR-SBP                 Document 47        filed 05/30/25      USDC Colorado
                                                pg 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Civil Action No. 1:24-cv-00490

BRIAN HOLTSCLAW, Individually and on Behalf of All Others Similarly Situated,

        Plaintiff,

v.

STAKE CENTER LOCATING, LLC, a Utah limited liability company,

        Defendant.

       JOINT MOTION TO EXTEND THE DEADLINE TO FILE THE PARTIES’
     RESPECTIVE MOTION TO COMPEL OR MOTION FOR PROTECTIVE ORDER

        COME NOW Plaintiff Brian Holtsclaw, individually and for others similarly situated, and

Defendant Stake Center Locating, LLC (collectively the “Parties”), and hereby jointly request the

Court grant this Joint Motion to Extend the Deadline to File the Parties’ Respective Motion to Compel

or Motion for Protective Order. In support thereof, the Parties show this Court as follows:

        1.       On March 18, 2025, the Parties submitted a Joint Discovery Statement to this Court

regarding numerous discovery disputes that arose in this matter.

        2.       On April 22, 2025, the Court issued an order directing the Parties to file an appropriate

motion to compel or motion for protective order by May 13, 2025. See Doc. 39. The Court further

instructed the Parties to make final attempts to try and resolve at least some of the disputes. Id.

        3.       The Parties have diligently conferred on multiple occasions regarding the discovery

disputes, but have not yet come to any firm agreements at this time. In fact, the Parties conferred

today and intend to further confer next week in the hopes of resolving the discovery dispute or

narrowing issues by agreement.

        4.       Due to the ongoing efforts of the Parties to amicably resolve this discovery dispute

without extensive motion practice and wasting Court resources, the Parties jointly request a ten (10)
Case No. 1:24-cv-00490-RMR-SBP                 Document 47         filed 05/30/25       USDC Colorado
                                                pg 2 of 3




day extension of time to file their respective motion to compel or motion for protective order—if any

are needed at that time. The Parties believe this additional time will be a sufficient for further and final

conferral on these issues.

        5.      This is the third joint extension request of the deadline to file these motions.

        6.      This request is not made for purposes of delay but so that justice may be done.

        WHEREFORE, the Parties respectfully request the Court find that good cause exists for a ten

(10) day extension for the Parties to file their respective motion to compel or motion for protective

order, and grant this Joint Motion.

Dated: May 30, 2025                                       Respectfully submitted,


                                                          /s/ Richard M. Schreiber
                                                          Michael A. Josephson
                                                          Andrew W. Dunlap
                                                          Richard M. Schreiber
                                                          JOSEPHSON DUNLAP LLP
                                                          11 Greenway Plaza, Suite 3050
                                                          Houston, Texas 77046
                                                          Phone: (713) 352-1100
                                                          Fax: (713) 352-3300
                                                          mjosephson@mybackwages.com
                                                          adunlap@mybackwages.com
                                                          rschreiber@mybackwages.com

                                                          Brian D. Gonzales
                                                          LAW OFFICES OF BRIAN D. GONZALES PLLC
                                                          2580 East Harmony Road, Suite 201
                                                          Fort Collins, Colorado 80528
                                                          Phone: (970) 214-0562
                                                          bgonzales@coloradowagelaw.com

                                                          Richard J. (Rex) Burch
                                                          BRUCKNER BURCH PLLC
                                                          11 Greenway Plaza, Suite 3025
                                                          Houston, Texas 77046
                                                          Phone: (713) 877-8788
                                                          Fax: (713) 877-8065
                                                          rburch@brucknerburch.com



                                                     2
Case No. 1:24-cv-00490-RMR-SBP             Document 47        filed 05/30/25     USDC Colorado
                                            pg 3 of 3




                                                     ATTORNEYS FOR HOLTSCLAW &
                                                     THE HOURLY UTILITY LOCATORS

                                                     -AND-

                                                     /s/ Daniel D. Stratton
                                                     Denis E. Jacobson
                                                     Alan B. Felts
                                                     Daniel D. Stratton
                                                     TUGGLE DUGGINS P.A.
                                                     400 Bellemeade Street, Suite 800
                                                     Greensboro, North Carolina 27401
                                                     Phone: (336) 378-1431
                                                     Fax: (336) 274-6590
                                                     djacobson@tuggleduggins.com
                                                     afelts@tuggleduggins.com
                                                     dstratton@tuggleduggins.com

                                                     Zane A. Gilmer
                                                     STINSON LLP
                                                     1144 Fifteenth Street, Suite 2400
                                                     Denver, Colorado 80202
                                                     Telephone: (303) 376-8416
                                                     zane.gilmer@stinson.com




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing document was served upon all
attorneys of record this 30th day of May 2025, via the Court’s electronic filing system.


                                                     /s/ Richard M. Schreiber
                                                     Richard M. Schreiber




                                                3
